Case 2:01-CV-02069-BBD-tmp Document 584 Filed 06/03/05 Page 1 of 6 Page|D 985

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IN THE UNITED STATES DISTRICT COURT F“£D B"' ““l’°/ m
FoR THE WESTERN DISTRICT oF TENNESSEEJ5 JUN _3 PH '2, bg

WESTERN DIVISION

ROBERT ¥`s. f°)i THGUO

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W.D. \’JF TN, MEMPH|S
MEMPHIS CENTER FOR INDEPENDENT LIVING,

Plaintiff,
v. Case No. 01-2069 D

RICHARD AND MILTON GRANT CO., et al.,

Defendants,

and

UNITED STATES OF AMERICA,
Plaintiff-Intervenor,

v.
RlCHARD AND MlLTON GRANT CO., et al.,

Defendants.
Defendant/Counter-Plaintiff.

 

ORDER DENYING AS MOOT PLAINTIFF’S MOTION FOR ORDER REQUIRING
DEFENDANTS TO SUBMIT A PAR'I`IAL REMEDIAL PLAN AND OPPOSITION TO
THE GRAN'I` OF DEFENDANTS’ MOTION TO COMPLETELY STAY THE DISTRICT

COURT PROCEEDINGS (dkt. # 524)

 

Before the Court is the September 7 , 2004 motion of the United States (“Plaintiff”) for an
order requiring Defendants to submit a partial remedial plan, filed September 7, 2004. On
November 24, 2004, Plaintiff filed a supplemental motion for an order requiring Defendants to
submit a full remedial plan. Given the November 24, 2004 motion, Plaintiff" s motion for an order

requiring Defendants to submit a partial remedial plan is moot as it is encompassed by the

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with Rute 58 and/or ?9(3) FHCP on

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Case 2:01-CV-02069-BBD-tmp Document 584 Filed 06/03/05 Page 2 of 6 Page|D 986

supplemental motion. Accordingly, the Court denies the motion as moot.

IT IS SO ORDERED this z f day of May, 2005.

 

NITED STATES DISTRICT COURT

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 584 in
case 2:01-CV-02069 Was distributed by faX, mail, or direct printing on
.1 une 9, 2005 to the parties listed.

 

 

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Case 2:01-CV-02069-BBD-tmp Document 584 Filed 06/03/05 Page 4 of 6 Page|D 988

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Case 2:01-CV-02069-BBD-tmp Document 584 Filed 06/03/05 Page 5 of 6 Page|D 989

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Case 2:01-CV-02069-BBD-tmp Document 584 Filed 06/03/05 Page 6 of 6 Page|D 990

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Honorable Bernice Donald
US DISTRICT COURT

